                                                                                           E-FILED IN OFFICE - AK
         Case 1:21-cv-05241-JPB Document 1-2 Filed 12/22/21 Page 1 of 9                  CLERK OF STATE COURT
                                                                                     GWINNETT COUNTY, GEORGIA
                                                                                               21-C-08481-S3
                                                                                          12/21/2021 3:42 PM
                                                                                         TIANA P. GARNER, CLERK

                     IN THE STATE COURT OF GWINNETT COUNTY
                                STATE OF GEORGIA

ANTONIO HALL,                                   )
                                                )
       Plaintiff,                               )
                                                )
v.                                              )          CIVIL ACTION FILE
                                                )          NO. 21-C-08481-S3
SAC WIRLESS, LLC,                               )
                                                )
       Defendant.                               )

                        DEFENDANT’S ANSWER AND DEFENSES
                            TO PLAINTIFF’S COMPLAINT

       Defendant SAC Wireless, LLC respectfully files its Answer and Defenses to Plaintiff’s

Complaint as follows:

                                      FIRST DEFENSE

       Plaintiff’s Complaint, in whole or in part, fails to state a claim against Defendant upon

which relief may be granted.

                                     SECOND DEFENSE

       Pending further investigation, and to preserve defenses, Defendant states that Plaintiff’s

accident and alleged damages were caused, in whole or in part, by his own negligence.

                                      THIRD DEFENSE

       Pending further investigation, and to preserve defenses, Defendant states that the sole

proximate cause of the damages alleged in Plaintiff’s Complaint were the actions, non-actions, or

negligence of a person or persons other than Defendant for whose actions, non-actions, or

negligence Defendant is in no way liable.

                                     FOURTH DEFENSE

       Defendant breached no duty owed to Plaintiff.
         Case 1:21-cv-05241-JPB Document 1-2 Filed 12/22/21 Page 2 of 9




                                       FIFTH DEFENSE

       Pending further investigation, and to preserve defenses, no alleged breach of duty by

Defendant was the direct or proximate cause of the damages alleged in Plaintiff’s Complaint.

                                       SIXTH DEFENSE

       Defendant specifically denies any negligence on its part; however, if Defendant was

negligent, the negligence of Plaintiff or others equaled or exceeded that of Defendant.

                                     SEVENTH DEFENSE

       Pending further investigation, and to preserve defenses, Defendant states that Plaintiff

assumed the risk of the injuries alleged in his Complaint.

                                      EIGHTH DEFENSE

       Plaintiff has failed to properly plead his alleged special damages pursuant to O.C.G.A. §

9-11-9(g).

                                       NINTH DEFENSE

       Plaintiff’s claims are barred by the exclusive remedies provided under the Georgia

Workers’ Compensation Act, O.C.G.A. § 34-9-1 et seq.

                                       TENTH DEFENSE

       Plaintiff’s claims are barred pursuant to O.C.G.A. § 34-9-8 since Defendant was a statutory

employer at the time of the underlying incident.

                                    ELEVENTH DEFENSE

       Pending further investigation, and to preserve defenses, Defendant asserts that Plaintiff’s

claims are barred due to the exceptions provided under O.C.G.A. § 46-3-39 (the “High Voltage

Safety Act”).




                                              2 of 9
           Case 1:21-cv-05241-JPB Document 1-2 Filed 12/22/21 Page 3 of 9




                                      TWELFTH DEFENSE

       Plaintiff’s claims are barred, in whole or in part, due to his failure to properly mitigate his

damages, if any.

                                    THIRTEENTH DEFENSE

       Plaintiff’s claims are barred because Plaintiff failed, in whole or in part, to exhaust all

available administrative remedies, and/or otherwise failed to comply with the statutory

prerequisites for bringing this action.

                                   FOURTEENTH DEFENSE

       Plaintiff is not entitled to punitive damages as a matter of law.

                                     FIFTEENTH DEFENSE

       Defendant responds to the individually numbered paragraphs of Plaintiff’s Complaint as

follows:

                                                 1.

       Defendant admits the allegations as pled in Paragraph 1 of the Complaint upon information

and belief.

                                                 2.

       Defendant admits the allegations as pled in Paragraph 2 of the Complaint.

                                                 3.

       Defendant admits it has acknowledged service in this action.

                                                 4.

       Defendant admits it conducts business in the State of Georgia.

                                                 5.

       Defendant admits jurisdiction is proper in this Court.


                                               3 of 9
         Case 1:21-cv-05241-JPB Document 1-2 Filed 12/22/21 Page 4 of 9




                                                  6.

       Defendant admits it has acknowledged service in this action.

                                                  7.

       Defendant admits venue is proper in this Court.

                                                FACTS

                                                  8.

       Defendant admits that, prior to the underlying accident, it had agreed to lease a crane from

Maxim that was used by Maxim employees relating to work on a cell phone tower at 1676 Juliette

Road, Stone Mountain, Georgia. To the extent Paragraph 8 of the Complaint contains or implies

any further allegations, the same are denied.

                                                  9.

       Defendant denies the allegations as pled in Paragraph 9 of the Complaint.

                                                 10.

       Defendant denies the allegations as pled in Paragraph 10 of the Complaint.

                                                 11.

       Defendant denies the allegations as pled in Paragraph 11 of the Complaint.

                                                 12.

       Defendant denies the allegations as pled in Paragraph 12 of the Complaint.

                                                 13.

       Defendant denies the allegations as pled in Paragraph 13 of the Complaint.

                                                 14.

       Defendant denies the allegations as pled in Paragraph 14 of the Complaint.




                                                4 of 9
            Case 1:21-cv-05241-JPB Document 1-2 Filed 12/22/21 Page 5 of 9




                                                 15.

          Defendant denies the allegations as pled in Paragraph 15 of the Complaint.

                                                 16.

          Defendant denies the allegations as pled in Paragraph 16 of the Complaint.

                                                 17.

          Defendant denies the allegations as pled in Paragraph 17 of the Complaint.

                                                 18.

          Defendant denies the allegations as pled in Paragraph 18 of the Complaint.

                                                 19.

          Defendant denies the allegations as pled in Paragraph 19 of the Complaint.

                                                 20.

          Defendant denies the allegations as pled in Paragraph 20 of the Complaint.

                                                 21.

          Defendant is currently without sufficient knowledge or information to form a belief as to

the truth of the allegations contained in Paragraph 21 of the Complaint. To the extent Paragraph

21 contains or implies any allegations of negligence or liability as to Defendant, the same are

denied.

                                                 22.

          Defendant denies the allegations as pled in Paragraph 22 of the Complaint.

                                                 23.

          Defendant denies the allegations as pled in Paragraph 23 of the Complaint.

                                                 24.

          Defendant denies the allegations as pled in Paragraph 24 of the Complaint.


                                               5 of 9
            Case 1:21-cv-05241-JPB Document 1-2 Filed 12/22/21 Page 6 of 9




                                                 25.

          Defendant denies the allegations as pled in Paragraph 25 of the Complaint.

                                                 26.

          Defendant is currently without sufficient knowledge or information to form a belief as to

the truth of the allegations contained in Paragraph 26 of the Complaint. To the extent Paragraph

26 contains or implies any allegations of negligence or liability as to Defendant, the same are

denied.

                                                 27.

          Defendant is currently without sufficient knowledge or information to form a belief as to

the truth of the allegations contained in Paragraph 27 of the Complaint. To the extent Paragraph

27 contains or implies any allegations of negligence or liability as to Defendant, the same are

denied.

                                                 28.

          Defendant is currently without sufficient knowledge or information to form a belief as to

the truth of the allegations contained in Paragraph 28 of the Complaint. To the extent Paragraph

28 contains or implies any allegations of negligence or liability as to Defendant, the same are

denied.

                                   COUNT ONE
                   (NEGLIGENCE AGAINST DEFENDANT SAC WIRELESS)

                                                 29.

          Defendant incorporates by reference its above responses to Paragraphs 1 through 28 of the

Complaint.

                                                 30.

          Defendant denies the allegations as pled in Paragraph 30 of the Complaint.

                                               6 of 9
          Case 1:21-cv-05241-JPB Document 1-2 Filed 12/22/21 Page 7 of 9




                                               31.

        Defendant denies the allegations as pled in Paragraph 31 of the Complaint.

                                 COUNT TWO
              (PUNITIVE DAMAGES AGAINST DEFENDANT SAC WIRELESS)

                                               32.

        Defendant incorporates by reference its above responses to Paragraphs 1 through 31 of the

Complaint.

                                               33.

        Defendant denies the allegations as pled in Paragraph 33 of the Complaint.

                                               34.

        Defendant denies the allegations as pled in Paragraph 34 of the Complaint.

                                               35.

        Defendant denies the allegations as pled in Paragraph 35 of the Complaint.

                                               36.

        Defendant denies the allegations as pled in Paragraph 36 of the Complaint.

                                    SIXTEENTH DEFENSE

        Defendant denies all allegations and implications of negligence and liability contained in

Plaintiff’s prayer for relief.

                                  SEVENTEENTH DEFENSE

        Any allegations not specifically responded to in this Answer are hereby denied.

                                        JURY DEMAND

        Defendant hereby demands a trial by a twelve-person jury on all issues so triable.




                                              7 of 9
           Case 1:21-cv-05241-JPB Document 1-2 Filed 12/22/21 Page 8 of 9




         WHEREFORE, having fully answered Plaintiff’s Complaint, Defendant prays that the

same be dismissed with prejudice, casting all costs upon Plaintiff, and that Defendant have all such

further relief as this Court deems just and proper.

         Respectfully submitted, this 21st day of December, 2021.

                                              DREW ECKL & FARNHAM, LLP


                                              /s/ Kyle A. Ference
                                              Andrew D. Horowitz
                                              Georgia Bar No. 367815
                                              Kyle A. Ference
                                              Georgia Bar No. 683043
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                                               8 of 9
           Case 1:21-cv-05241-JPB Document 1-2 Filed 12/22/21 Page 9 of 9




                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that I am counsel for Defendant and that I have this day served a

copy of the foregoing Answer and Defenses upon all parties to this matter by filing it with the

Court’s CM/ECF system, which will automatically deliver electronic notification to the following

counsel of record:

                              Michael J. Warshauer, Esq.
                              Trent Shuping, Esq.
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                              Atlanta, GA 30339
                              mjw@warlawgroup.com
                              tss@warlawgroup.com

         This 21st day of December, 2021.

                                            DREW ECKL & FARNHAM, LLP

                                            /s/ Kyle A. Ference
                                            Kyle A. Ference
                                            Georgia Bar No. 683043
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